

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS


	




NO. WR-78,016-01






EX PARTE JOHN ELTON CRAWFORD, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. F-9204998-NR IN THE 265TH DISTRICT COURT


FROM DALLAS COUNTY






	Per curiam.

		

O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus. Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967). Applicant was convicted of capital murder
and was sentenced to life in prison. The Fifth Court of Appeals affirmed the conviction in an
unpublished opinion. John Elton Crawford v. State, No. 05-93-00483-CR (Tex. App. - Dallas del.
Dec. 21, 1994).

	Applicant raises several claims in his writ application, including claims of ineffective
assistance of trial and appellate counsel. He has alleged facts that, if true, might entitle him to relief. 
Strickland v. Washington, 466 U.S. 668 (1984); Ex parte Patterson, 993 S.W.2d 114, 115 (Tex.
Crim. App. 1999). There is no response from either counsel in the record provided to this Court, and
there are no findings from the trial court. In these circumstances, additional facts are needed. As we
held in Ex parte Rodriguez, 334 S.W.2d 294, 294 (Tex. Crim. App. 1960), the trial court is the
appropriate forum for findings of fact.  

	The trial court shall order trial and appellate counsel to respond to Applicant's claims of
ineffective assistance by explaining their representation of Applicant, including applicable strategy
and tactical decisions. To obtain the response, the trial court may use any means set out in Tex.
Code Crim. Proc. art. 11.07, § 3(d). If the trial court elects to hold a hearing, it shall determine
whether Applicant is indigent. If Applicant is indigent and wishes to be represented by counsel, the
trial court shall appoint an attorney to represent Applicant at the hearing. Tex. Code Crim. Proc.
art. 26.04. 

	The trial court shall make findings of fact and conclusions of law regarding the claims raised
in the writ application. The trial court may also make any other findings of fact and conclusions of
law it deems relevant and appropriate to the disposition of Applicant's claim for habeas corpus relief.

	This application will be held in abeyance until the trial court has resolved the fact issues. The
issues shall be resolved within 90 days of this order. A supplemental transcript containing all
affidavits and interrogatories or the transcription of the court reporter's notes from any hearing or
deposition, along with the trial court's supplemental findings of fact and conclusions of law, shall
be forwarded to this Court within 120 days of the date of this order. Any extensions of time shall be
obtained from this Court.

Filed:	September 12, 2012

Do not publish


